             Case 19-12605-jkf       Doc 28 Filed 08/20/19 Entered 08/20/19 09:13:48                  Desc
                                           CloseOrder Page 1 of 1
                                      UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA



In re:                                                           : Chapter 7


Anasse Souidi                                                    : Case No. 19−12605−jkf
                   Debtor(s)


                                                    ORDER
                                 _____________________________________________


         AND NOW, this day , August 20, 2019 , it appearing that the trustee in the above

entitled matter has filed his report and that the trustee has performed all other duties required

in the administration of the debtor(s) estate, it is



         ORDERED that the trustee be discharged and relieved of any trust; and this case be, and

the same hereby is, closed.



                                                                 By The Court

                                                                 Jean K. FitzSimon
                                                                 Judge , United States Bankruptcy Court




                                                                                                                   28
                                                                                                             Form 195
